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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


JOHN DOE,                                     :   Case No. 18-cv-11776
                                              :
                          Plaintiff,          :   Hon. Arthur J. Tarnow
                                              :   Mag. Elizabeth A. Stafford
      v.                                      :
                                              :   DEFENDANTS’ MOTION
UNIVERSITY OF MICHIGAN, et al.,               :   FOR LEAVE TO FILE A
                                              :   SUR-REPLY TO
                          Defendants.         :   PLAINTIFF’S REPLY IN
                                              :   SUPPORT OF HIS MOTION
                                              :   FOR PARTIAL SUMMARY
                                              :   JUDGMENT


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      Defendants respectfully move for leave to file a two-page sur-reply to

plaintiff’s reply in support of his motion for partial summary judgment (ECF

No. 62) to address plaintiff’s new request for retrospective relief. In support of this

motion, defendants rely upon the attached brief in support. Defendants’ proposed

sur-reply is attached as Exhibit A to this motion.

      Counsel for defendants conferred with counsel for plaintiff on July 17, 2019

and explained the nature of this motion and its legal basis. Counsel for defendants

requested, but did not obtain, concurrence in the relief sought in this motion.

      WHEREFORE, defendants respectfully request that the Court grant

defendants leave to file the sur-reply attached as Exhibit A to this motion.

                                           Respectfully submitted,
July 17, 2019

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN DOE,                                      :   Case No. 18-cv-11776
                                               :
                          Plaintiff,           :   Hon. Arthur J. Tarnow
                                               :   Mag. Elizabeth A. Stafford
      v.                                       :
                                               :   DEFENDANTS’ BRIEF IN
UNIVERSITY OF MICHIGAN, et al.,                :   SUPPORT OF THEIR
                                               :   MOTION FOR LEAVE TO
                          Defendants.          :   FILE A SUR-REPLY TO
                                               :   PLAINTIFF’S REPLY IN
                                               :   SUPPORT OF HIS MOTION
                                               :   FOR PARTIAL SUMMARY
                                               :   JUDGMENT


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                  STATEMENT OF THE ISSUE PRESENTED
      Should the Court grant defendants leave to file a two-page sur-reply to

address plaintiff’s new request for retrospective relief raised for the first time in his

reply in support of his motion for partial summary judgment (ECF No. 62)?

      Defendants assert that the answer is “Yes.”
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                        CONTROLLING AUTHORITY
Seay v. Tenn. Valley Auth., 339 F.3d 454 (6th Cir. 2003)




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                                    ARGUMENT
      Doe’s motion for partial summary judgment seeks solely equitable and

prospective relief. (See ECF No. 53 at 8-9.) But in his reply, 1 Doe asserts for the

first time that he “is entitled to an order” for retrospective relief declaring that “the

2018 Policy imposed upon Plaintiff was unconstitutional.” (ECF No. 62 at 1.) The

Court should grant defendants leave to file a short sur-reply to address Doe’s new

request for retrospective relief. See Seay v. Tenn. Valley Auth., 339 F.3d 454, 481-

82 (6th Cir. 2003) (“It is only logical that . . . where the moving party submits in a

reply brief new reasons . . . in support of its motion for summary judgment

. . . [that] a district court . . . allow the nonmoving party an opportunity to

respond.”).   Defendants’ proposed sur-reply is attached as Exhibit A to their

motion.

                                   CONCLUSION
      Defendants respectfully request that the Court grant defendants leave to file

the sur-reply attached as Exhibit A to their motion.




1
  Without obtaining this Court’s leave, Doe filed a reply that exceeds by a full page
the 7-page limitation on reply briefs. See LR 7.1(d)(3)(B).
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                                       Respectfully submitted,
July 17, 2019

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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 17, 2019, I electronically filed the foregoing

papers with the Clerk of the Court using the ECF system which will send

notification of such filing to:

                                Deborah L. Gordon
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